Case: 4:21-cv-01511-JAR Doc. #: 1 Filed: 12/29/21 Page: 1 of 6 PageID #: 1




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

JULES MGIMBI,                           )
     A206-037-560,                      )
                                        )
             Plaintiff,                 )
                                        )
v.                                      )            Cause No. ________________
                                        )
ALEJANDRO MAYORKAS, Secretary )
of the Department of Homeland Security, )
                                        )
and                                     )
                                        )
KENNETH S. MADSEN, as Director,         )
USCIS Chicago Asylum Office,            )
                                        )
             Defendants.                )

                            COMPLAINT FOR MANDAMUS

        COMES NOW Plaintiff Jules Mgimbi, by and through counsel, and in support of

his claim for relief states as follows:

                                      INTRODUCTION

1.      This is a civil action brought pursuant to 8 U.S.C. § 1329, 28 U.S.C. § 1331 and

1361 to redress the deprivation of rights, privileges and immunities secured to Plaintiff by

which statutes jurisdiction is conferred, and to compel Defendants to perform a duty

Defendants owe to Plaintiff.

2.      This action is brought to compel Defendants and those acting under them to rule

upon the Application for Political Asylum (I-589) filed by Plaintiff (ZCH-13-000-24950,

Exhibit A), which was on or about July 29, 2013. He was interviewed by Defendants in

St. Louis on August 21, 2014. Exhibit B.




                                             1
Case: 4:21-cv-01511-JAR Doc. #: 1 Filed: 12/29/21 Page: 2 of 6 PageID #: 2




                                         PARTIES

3.     Plaintiff Jules Mgimbi resides in St. Louis County, Missouri. Plaintiff is a person

of good moral character and an upstanding member of the community. Plaintiff is the

beneficiary of a pending Application for Political Asylum (Form I-589) filed by Plaintiff

on July 29, 2013. The application has been pending before the USCIS for more than

eight (8) years since filing and more than seven (7) years since interview by USCIS.

4.     Defendant Alejandro Mayorkas is the Secretary of the Department of Homeland

Security (DHS), with direct administrative and supervisory control of the United States

Citizenship and Immigration Services (USCIS), a Federal Agency within the United

States Department of Homeland Security, which is mandated under the law to supervise,

implement, and enforce the Immigration and Nationality Act, including Applications for

Political Asylum, the type of filing involved in this case, and is charged under the law (8

U.S.C. Section 1103) with administering the Immigration and Nationality Act (INA).

Defendant Kenneth S. Madsen is the Director of the Chicago Asylum Office of USCIS

and is charged under the law (8 U.S.C. Section 1103) with administrating the INA. The

Chicago Asylum Office of USCIS has jurisdiction over St. Louis, and furthermore

regularly conducts asylum interviews in the St. Louis Field Office, for adjudications of

petitions from aliens residing in the greater St. Louis area. In fact, Mr. Mgimbi’s

interview was held in the St. Louis Field Office. Mr. Madsen’s office has supervisory

control of the application and has authority to adjudicate them. The Application for

Political Asylum (Form I-589) was originally filed with the USCIS Nebraska Service

Center (Receipt No. ZCH-13-000-24950) and transferred to the control of the Chicago




                                             2
Case: 4:21-cv-01511-JAR Doc. #: 1 Filed: 12/29/21 Page: 3 of 6 PageID #: 3




Asylum Office sometime after filing. Mr. Mgimbi was then interviewed by Defendants

on August 21, 2014 at the St. Louis, MO field office of USCIS. The case remains

pending.

                                     JURISDICTION

5.     This Court has jurisdiction over the present action under 28 U.S.C. Section 1331,

Federal Question Jurisdiction (this action being one that arises under the Constitution and

the laws of the United States, specifically the Immigration and Nationality Act (INA),

Section 245, et seq. [8 U.S.C. Section 1255, et seq.], 5 U.S.C. Section 555 et seq., and the

Fifth Amendment to the U.S. Constitution; 28 U.S.C. Section 1651, the All Writs Act, 28

U.S.C. 1346, the Federal Tort Claims Act, 28 U.S.C. Section 2201, the Declaratory

Judgment Act; 5 U.S.C. Section 702, the Administrative Procedures Act; 28 U.S.C.

Section 1361, regarding the action to compel an officer of the United States to perform

his duty; and 8 U.S.C. Section 1329, the INA for jurisdiction of this court over actions

arising under said Act.

                                          VENUE

6.     28 U.S.C. Section 1391(e), as amended, provides that in a civil action in which

each defendant is an officer or employee of the United States or any agency thereof

acting in his official capacity, or under color of authority, or any agency of the United

States, the action may be brought in any judicial district in which the defendant in the

action resides. Defendant USCIS is an agency which operates within the district, having

a supervisory office in Chicago, IL which is under the direct authority of Defendant

Madsen as Director. Defendant Madsen has authority in this capacity over the regular

conduct of asylum office activities—principally regularly-scheduled interviews of




                                             3
Case: 4:21-cv-01511-JAR Doc. #: 1 Filed: 12/29/21 Page: 4 of 6 PageID #: 4




Missouri and Southern Illinois applicants—in and from the St. Louis Field Office of the

USCIS, to which the Plaintiff’s I-589 application was transferred and where his USCIS

interview was conducted, and which considers cases filed by aliens residing in the

Eastern District of Missouri. Venue properly lies with the Eastern District of Missouri,

United States District Court.

                                PRELIMINARY STATEMENT

7.       Plaintiff Jules Mgimbi filed, as provided by law, an Application for Political

Asylum (Form I-589) on or about July 29, 2013. Defendants have engaged in unlawful

conduct. Defendants have refused to adjudicate Plaintiff’s Application without regard to

when it was filed. A reasonable processing time for like applications is between eight to

twelve months. However, Plaintiff’s application has been held without adjudication for

over eight years without justification.

                                FACTUAL ALLEGATIONS

8.       On or about July 29, 2013, Plaintiff filed an Application for Political Asylum

(Form I-589) with Defendants.

9.       Plaintiffs filed the relevant paperwork pursuant to the provisions of the

Immigration and Nationality Act (INA). An interview was conducted on the underlying

merits of the application at the St. Louis Field Office on August 21, 2014 (Exhibit B).

The matter has now been pending for more than eight (8) years since filing, and for more

than seven (7) years after interview.

10.      Despite repeated attempts by Plaintiffs to secure adjudication (see Group Exhibit

C), Defendants have not adjudicated the Application in more than eight years since it was

filed.




                                              4
Case: 4:21-cv-01511-JAR Doc. #: 1 Filed: 12/29/21 Page: 5 of 6 PageID #: 5




11.    Plaintiff’s Application has not been adjudicated in more than eight years. The

average processing time for the adjudication of Form I-589 is between 14 to 27 months –

certainly, exceeding this period by nearly six years is manifestly unreasonable.

Defendants have engaged in unlawful conduct by refusing to adjudicate Plaintiff’s

Application.

                                 PRAYER FOR RELIEF

       Defendants willfully and unreasonably have delayed and have refused to

adjudicate the Application for Political Asylum (Form I-589) filed on or about July 29,

2013. Therefore, Plaintiff has been deprived of the right to have his filing adjudicated

and to obtain that peace of mind to which Plaintiff is entitled under the Immigration and

Nationality Act. Defendants owe Plaintiff the duty to act upon the Application in

question and they have unreasonably failed to perform that duty. Plaintiff has exhausted

any administrative remedies that may exist.



                             _________________________



       WHEREFORE, Plaintiff prays that the Court:

(1)    Accept and maintain continuing jurisdiction of this action;

(2)    Compel Defendants and those acting under them to perform their duty to act upon

the Application for Political Asylum (Form I-589) within the next sixty (60) days;

(3)    Award Plaintiff the cost of this action, including fair and reasonable attorney’s

fees as provided in the Equal Access to Justice Act; and




                                              5
Case: 4:21-cv-01511-JAR Doc. #: 1 Filed: 12/29/21 Page: 6 of 6 PageID #: 6




(4)    Grant such other and further relief this Court deems proper under the

circumstances.

Respectfully submitted,

/s/ Timothy E. Wichmer

____________________________________

Timothy E. Wichmer
Wichmer & Groneck, LLC
230 South Bemiston, Suite 640
St. Louis, MO 63105
314-863-1212
314-727-2882 fax
Attorney for Plaintiffs




                                           6
